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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLUMBIA

In Re:                                    *
                                          *
                                          *
THOMAS K. STEPHENSON                      * Case # 19-000149 SMT
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     Debtor                               * Chapter 11
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 ****************************************************************************
  DEBTOR'S MOTION FOR AUTHORITY TO SELL REAL PROPERTY LOCATED
  AT 711 & 719 49th STREET, NE WASHINGTON, DC 20019 AND ITS ADJOINING
        LOTS 5179/0056 & 0057, 49th STREET, NE WASHINGTON DC 20019

         COMES NOW the Debtor, Thomas K. Stephenson, by and through his attorney, Charles
M. Maynard, Esquire, and respectfully in support of this Motion for Authority to Sell Real
Property at Private Sale, the real properties and improvements known as 711 49th Street and 719
49th Street, NE, Washington, DC 20019 and two (2) adjoining lots known as 5179/0056 & 0057,
located on 49th Street, NE, Washington DC represents as follows:


         1.   That the Debtor has a right to sell these properties pursuant to 11 U.S. C. Section
§1303 and 11 U.S.C. Section §363 (b)(1).

         2. That the Debtor has entered into a contract not contingent on financing with Richard

Balles, RBC Properties, to purchase the entire interest in real property and improvements known

as 711 and719 49th Street, NE, Washington, DC 20019, legal description 0054-59, Block/Square

5179 for the sum of Two Million Four Hundred Thousand Dollars ($2,400,000.00) and a

separate contract also not contingent on financing with RBC Properties to purchase the two (2)

adjoining lots known as legal description 0056, 0057 Block Square 5179, with a street address of



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49th Street, NE, Washington DC 20019. Copies of the sales contracts are attached herein as

Exhibit A.

       3. The Debtor has accepted the offer of Two Million Four Hundred Thousand Dollars

($2,400,000.00) for the real property and improvements known as 711 and 719 49th Street, NE

Washington DC and the offer of Three Hundred Thousand Dollars ($300,000.00) for the two (2)

adjoining lots known as 5179/0056 & 0057, located on 49th Street, NE Washington, DC subject

to approval by this Honorable Court and additional conditions as stipulated by the aforesaid

contract.

       4. The sale/purchase will be financed by Washington Capital Partners who are ready,

willing and able to proceed with settlement and is in need of an Order authorizing sale from this

Honorable Court. Washington Capital Partners will also be providing the bridge loan, once

approved by this Court as stated in Debtor’s previously filed Motion for Authority to Enter into

Financing Agreement with Washington Capital Partners filed as Docket #65. The Terms Sheet is

attached herein as Exhibit B. A copy of the Settlement Sheet is to be provided to this Court

upon completion of the transaction.

       5. That the Debtor will receive enough proceeds from the sale to pay in full all creditors

secured by the property as well as any allowed unsecured claims in full. The property at 719 49th

Street, NE is presently owned by the debtor free and clear of any encumbrances; however, once

the aforesaid bride loan is approved, it will become the only encumbrance on the subject

property. This bridge loan will be repaid from the proceeds of the sale.

       6.    Objections by any party in interest as to the Debtor's sale of the real property at a

private sale must be in writing and filed with the Clerk of the United States Bankruptcy Court,

District of Columbia, U.S. Courthouse, 333 Constitution Ave, N.W. Washington, DC 20001 and

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the Debtor’s Counsel at 200-A Monroe Street, Suite #115, Rockville, MD 20850. The objection

should state specifically why the proposed sale should not take place. In the event an objection

is timely filed, a hearing on this matter will be scheduled and the objecting creditor will be

expected to attend the hearing scheduled in this case.


ANY OBJECTION MUST BE FILED WITHIN TWENTY (20) DAYS AFTER THE
DATE ON THIS CERTIFICATE OF SERVICE. IN THE EVENT NO OBJECTIONS
ARE TIMELY FILED, THE SALE WILL BE COMPLETED.


       WHEREFORE, these premises considered, Debtor prays:

                A. That this Honorable Court grant this Motion for Sale of Real Property At
Private Sale.
                B. For such other and further relief as the nature of this cause may require.



                                              Respectfully Submitted,

                                              /s/ Charles M. Maynard
                                              Charles M. Maynard, Esquire
                                              200-A Monroe Street, # 115
                                              Rockville, MD 20850
                                              (301) 294-6003
                                              (301) 294-6004 FAX

                                              Attorney for Debtor

                                  CERTIFICATE OF SERVICE

       I DO HEREBY CERTIFY that a copy of the foregoing Motion was served on the 19th
day of June, 2019 to all those interested persons listed on the attached mailing matrix and via
first class mail, postage prepaid to:
Joseph A. Guzinski
Assistant United States Trustee
Office of the United States Trustee
1725 Duke Street, Suite #650
Alexandria, VA 22314
                                                 3
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Washington, DC 20019


                                            /s/ Charles M. Maynard
                                            Charles M. Maynard
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